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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  BERTRUM JEAN, individually and as the           §
  surviving father of Botham Shem Jean,           §
  ALLISON A. JEAN, individually and as the        §
  surviving mother of Botham Shem Jean,           §
  and ALLISON E. FINDLEY as the                   §
  Administrator of the Estate of Botham           §
  Shem Jean,                                      §
                                                  §
         Plaintiffs,                              §          Civil Action No. 3:18-cv-2862-M
                                                  §
  v.                                              §
                                                  §
  THE CITY OF DALLAS, TEXAS, and                  §
  AMBER GUYGER,                                   §
                                                  §
         Defendants.                              §

                           STANDING ORDER OF REFERENCE
                        AND NOTICE OF OPTION TO CONSENT TO
                       PROCEED BEFORE THE MAGISTRATE JUDGE

        This case is now referred to United States Magistrate Judge Irma C. Ramirez for pretrial
management. Under 28 U.S.C. § 636(b), a judge may designate a magistrate judge to hear and
determine a nondispositive motion without obtaining consent from the parties. See Tucker v.
U.S. Dep't of Army, 1995 WL 337670, at *2 (5th Cir. 1995). A judge may also designate a
magistrate judge to make findings of fact and recommendations on dispositive motions. See 28
U.S.C. § 636(b)(1)(B). All non-dispositive motions are prospectively referred to the Magistrate
Judge for determination. All dispositive motions are prospectively referred to the Magistrate
Judge for report and recommendation. All other pretrial matters, including scheduling and
possible alternative dispute resolution, are referred to the magistrate judge for appropriate action
consistent with applicable law. Judge Ramirez will issue a separate order governing the filing
and disposition of pretrial motions.

                                                 I.

        The parties may consent to have all further proceedings in this case, including a jury or
non-jury trial, conducted by the Magistrate Judge. See 28 U.S.C. Section 636(c). In this regard,
the attorneys shall advise their clients that Judge Ramirez will likely be able to give this case a
special trial setting. This Court is unable to accommodate such a request because of criminal
cases and older civil matters that take precedence on its docket. Alternatively, the parties may
consent to have the Magistrate Judge make final rulings on case dispositive motions, while
reserving their right to trial before the District Judge. A consent form is attached for your

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convenience. This form must be completed by each party and returned to the district clerk
within 20 days from the date of this Order. Any party is free to withhold consent without
substantive adverse consequences.


                                                II.

        If all parties consent to the authority of the Magistrate Judge for all purposes, the case
will be transferred to Judge Ramirez. An appeal from a judgment entered by the Magistrate
Judge will be taken directly to the appropriate United States court of appeals in the same manner
as an appeal from any other judgment of a district court.

                                               III.

        If all parties do not consent, the case will remain with Judge Ramirez for pretrial
management. Judge Ramirez will issue a scheduling order and preside over all pretrial matters,
including determining all non-dispositive motions and making recommendations on all
dispositive motions.

                                               IV.

       Any questions concerning this Order or any matter related to this case should be directed
to Marie Castañeda, Courtroom Deputy to Magistrate Judge Ramirez at (214) 753-2167.

       SO ORDERED.

       January 17, 2019.
                                                      _________________________________
                                                      BARBARA M. G. LYNN
                                                      CHIEF JUDGE




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